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                  IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                       DIVISION OF ST. THOMAS AND ST. JOHN
                              BANKRUPTCY DIVISION


 IN RE:
 JEFFREY J. PROSSER                                   Case No.: 06-30009 (JKF)
                                                      Chapter 7
                Debtor.



 JAMES P. CARROLL, as Chapter 7                       Adv. Proc. No. 09-03001 (JKF)
 Trustee of the Estate of Jeffrey J. Prosser,
                                                      Related to Adv. Doc. No. 11 [Plaintiff’s
                Plaintiff,                            Motion for Partial Summary Judgment
                                                      Against All Defendants]
 v.

 JOHN D. KLINGERMAN and DAWN
 PROSSER,

                Defendants.


                                  MEMORANDUM OPINION1

        Before the court is the “Motion for Partial Summary Judgment Against All Defendants”

 (hereinafter, the “Motion”) filed by James P. Carroll, the Chapter 7 Trustee of the Estate of

 Jeffrey J. Prosser. Adv. Pro. No. 09-03001, Adv. Doc. No. 11. In the Motion, the Trustee asks

 the court to grant summary judgment in his favor and against Defendant John D. Klingerman as

 to Counts I and II and to grant summary judgment against Defendant Dawn Prosser as to Count

 IV of the “Amended Complaint of Chapter 7 Trustee Seeking Damages in Connection with the

 Estate’s Real Propery Located at 89 Victor Herbert Road, Lake Placid, New York and to


        1
         The court’s jurisdiction is not in question. This Memorandum Opinion constitutes our
 findings of fact and conclusions of law.

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 Interplead Certain Funds Held in Reserve” (hereinafter, “Amended Complaint”) (Adv. Pro. No.

 09-03001, Adv. Doc. No. 3).2 Motion, Adv. Pro. No. 09-03001, Adv. Doc. No. 11, at 16.

 Background

        Regarding Counts I and II, the Plaintiff and Defendant John D. Klingerman submitted a

 Joint Statement of Undisputed Facts (hereinafter, the “Joint Statement”), dated April 20, 2010, at

 Adv. Doc. No. 70 of Adv. Pro. No. 09-03001, which the court accepts and recites as follows:

                1.     On July 31, 2006, the Debtor filed a voluntary petition for
                       relief under Chapter 11 of the Bankruptcy Code in the
                       Bankruptcy Division of the United States District Court for
                       the United States Virgin Islands (the “Court”). [06-bk-
                       30009, DE 1].
                2.     On October 3, 2007, the Court entered an order converting
                       the Debtor’s case from Chapter 11 to Chapter 7 [06-bk-
                       30009, DE 865], and John Ellis was appointed interim
                       Chapter 7 trustee of the Debtor’s estate. On October 31,
                       2007, Mr. Ellis resigned as trustee and James P. Carroll
                       was appointed successor trustee.
                3.     By warranty deed recorded on September 4, 1996, the


        2
         Count IV appears to have been resolved by the Trustee and Defendant Dawn Prosser
 pursuant to a stipulation reached between those two parties during the pendency of this motion
 and subsequently approved by the court. Stipulation and Agreed Order Between Chapter 7
 Trustee and Dawn Prosser: (A) Settling and Resolving Limited Aspects of Adversary
 Proceeding; and (B) Providing for the Division and Sale of Certain Chandeliers and Stereo
 Equipment (hereinafter, the “Stipulation”). Adv. Pro. No. 09-03001, Adv. Doc. No. 28.
 Therefore, the Order attached to this Memorandum Opinion will set a status conference to
 confirm the resolution of Count IV, as well as to address Counts III, V, and VI of the Amended
 Complaint. We note that Counts III, V and VI are not raised in Plaintiff’s Motion for Partial
 Summary Judgment and are, therefore, not addressed in this Memorandum Opinion and attached
 Order. However, because Counts III, V and VI are brought by the Plaintiff against Defendant
 Dawn Prosser, the Stipulation may affect these Counts and, as such, a status conference will be
 valuable in resolving this action.
        We also note that Count VII was not raised in the Motion for Partial Summary Judgment.
 However, because the Stipulation reached between the Trustee and Dawn Prosser appears to
 have rendered Count VII moot as to Dawn Prosser but still may affect Mr. Klingerman, the court
 has addressed the effect of this Stipulation on Count VII. See infra note 27 and accompanying
 text.

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                  Debtor and Dawn Prosser acquired as tenants by the
                  entirety the Lake Placid Property. See Order Granting
                  Trustee Authority to Sell Dawn Prosser’s Interest in the
                  Real Property Located at 89 Victor Herbert Road, Lake
                  Placid, New York, Subject to (A) Dawn Prosser’s Rights of
                  First Refusal, and (B) Certain Terms and Conditions, and
                  Additional Limited Submissions of Evidence (the “Sale
                  Authority Order.” [Adv. Proc. No.] 08-03009, DE 33,
                  attached as Exhibit “A”).1
                           FN 1. Paragraph F of the Findings
                           of Fact and Conclusion of Law in the
                           Good Faith Deposit Order states that
                           “All findings set forth in the Sale
                           Authority Order are incorporated
                           herein by reference and made a part
                           hereof.” Accordingly, the Findings
                           of Fact in the Sale Authority Order
                           are binding upon the parties hereto
                           by virtue of their incorporation into
                           the Good Faith Deposit Order.
            4.    The Lake Placid Property is a single family residence
                  consisting of a luxury vacation home, guest house, boat
                  house and garage located on 264 feet of waterfront footage
                  on Lake Placed. Id. at ¶ I, p. 3.
            5.    Pursuant to the Sale Authority Order, the Court approved
                  certain Bidding Procedures that permitted the Trustee to
                  obtain bids on, hold an auction and sell the Lake Placid
                  Property. Id. (attached as an Exhibit to the “Sale Authority
                  Order”).
            6.    The Trustee complied with the terms of the Sale Authority
                  Order and the approved Bidding Procedures. See Order
                  Authorizing Fox Rothschild LLP, Escrow Agent to the
                  Chapter 7 Trustee to Turn Over to the Debtor’s Estate the
                  $200,000 Good Faith Deposit Paid by John D. Klingerman
                  in Connection with his Proposed Acquisition of Certain
                  Real Property Located at 89 Victor Herbert Road, Lake
                  Placid, New York, as a Result of Purchaser’s Breach of the
                  Court-Approved Bidding Procedures (the “Good Faith
                  Deposit Order”), [Adv. Proc. No.] 08-03009, DE 89 at ¶ G,
                  p. 3, attached as Exhibit “B”.
            7.    Mr. Klingerman bid upon the Lake Placid Property and was
                  the Successful Bidder as that term is defined in the Bidding
                  Procedures. See Good Faith Deposit Order at ¶ H, p. 3
                  (Exhibit “B”).

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            8.    Mr. Klingerman expressly agreed to the Bidding
                  Procedures and to be bound by them. Id. at ¶ I, p. 3.
            9.    By order dated July 23, 2008 and entered by the Court on
                  July 30, 2008, the Trustee was authorized to sell the Lake
                  Placid Property to Mr. Klingerman in accordance with the
                  Bidding Procedures. Id. at ¶ J, p. 3.
            10.   As the Successful Bidder, Mr. Klingerman offered to pay
                  the sum of $3.55 million to purchase the Lake Placid
                  Property.
            11.   Mr. Klingerman did not enter into a contract or close on the
                  sale of the Lake Placid Property. Id. at ¶ K, p. 3.
            12.   By motion dated September 17, 2008, upon which Mr.
                  Klingerman was provided notice and the opportunity to
                  participate, the Trustee sought approval to retain the good
                  faith deposit monies that Mr. Klingerman had tendered at
                  that time he submitted his bid to purchase the Lake Placid
                  Property. [[Adv. Proc. No.] 08-03009, DE 73].
            13.   In granting the Trustee relief to retain the good faith
                  deposit, the Court found that Mr. Klingerman was in breach
                  of the Bidding Procedures by failing to sign an agreement
                  or close on the sale of the Lake Placid Property. See Good
                  Faith Deposit Order at ¶ K, L, p. 3 (Exhibit “B”).
            14.   In granting the Trustee relief to retain the good faith
                  deposit, the Court stated that the “Order shall not prohibit
                  or limit the Trustee’s or any other party’s rights to seek
                  additional damages against Mr. Klingerman in connection
                  with his failure to close on the sale of the Lake Placid
                  Property.” Id. at ¶ 5, p. 4-5.
            15.   On December 15, 2009, Mr. Klingerman filed a motion (the
                  “Motion for Reconsideration,” inadvertently filed at Adv.
                  No. 09-03001, DE 41 and re-docketed at Adv. No. 08-
                  03009, DE 164) requesting that the Court reconsider the
                  Good Faith Deposit Order.
            16.   On March 12, 2010, the Court issued an Order Denying the
                  Motion for Reconsideration (inadvertantly filed at Adv. No.
                  09-03001, DE 53 and re-docketed at Adv. No. 08-03009,
                  DE 167).
            17.   On November 4, 2008, the Chapter 7 Trustee closed on the
                  sale of the Lake Placid Property to the next highest bidder
                  for the sum of $2.7 million.
            18.   In the Good Faith Deposit Order, the Court found, “[t]he
                  Debtor’s estate has been damaged by Mr. Klingerman’s
                  breach of the Bidding Procedures.” See Good Faith
                  Deposit Order at ¶ L, p. 3 (Exhibit “B”).

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                19.     The difference in the sale price offered by Mr. Klingerman
                        as the Successful Bidder and the sale price that was paid by
                        the next highest bidder is $850,000.[3]

        Despite the provision in the Bidding Procedures that the successful bidder be “prepared

 to enter into a legally binding purchase and sale agreement for the acquisition of the Lake Placid

 Property . . . and close on that agreement within two (2) weeks of the entry of a Sale Order,”

 (Bidding Procedures, Adv. Pro. No. 08-03009, Adv. Doc. No. 33, Exhibit 2, at 2), Mr.

 Klingerman failed to comply with either requirement.

        To qualify as a bidder, Mr. Klingerman produced proof that he had the then present ability

 to close on the property by paying the bid price. The proof was in the form of a letter from

 Columbia County Farmers National Bank. See Affidavit of James P. Carroll, Chapter 7 Trustee

 of the Estate of Jeffrey J. Prosser, In Support of Entry of an Order Authorizing the Sale of the

 Estate’s and Dawn Prosser’s Interest in the Real Property Located at 89 Victor Herbert Road,

 Lake Placid, New York, Pursuant to 11 U.S.C. §§ 363(b) and (h) (hereinafter, “Carroll

 Affidavit”), Adv. Pro. No. 08-03009, Adv. Doc. No. 46, Exhibit C, at 2. See also Memorandum

 of Law in Support of Defendant’s Opposition to Plaintiff’s Motion for Summary Judgment

 (hereinafter, “Defendant’s Memorandum in Opposition”), Adv. Pro. No. 09-03001, Adv. Doc.

 No. 29-8.4 See also Defendant’s Memorandum in Opposition, Adv. Pro. No. 09-03001, Adv.


        3
          The Joint Statement omits numerous communications by and between counsel to
 Plaintiff and a succession of three attorneys representing Defendant Klingerman. These
 communications between Defendant Klingerman, counsel to Defendant Klingerman, the
 Plaintiff, and counsel to the Plaintiff can be found as Exhibits to Mr. Klingerman’s
 Memorandum of Law in Support of Defendant’s Opposition to Plaintiff’s Motion for Summary
 Judgment filed at Adv. Doc. Nos. 29-31 of Adv. Pro. No. 09-03001.
        4
         For clarity, we note that Defendant Klingerman’s Memorandum in Opposition was filed
                                                                                 (continued...)

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 Doc. No. 31-9, at 2. The letter, written by Mr. Edwin A. Wenner, the Executive Vice President

 and Chief Operating Officer (COO) of Columbia County Farmers National Bank, specifically

 stated that Mr. Klingerman “has the where with all [sic] to finance the purchase of the properties

 in the amount of $3,500,000, if he desires to make such a purchase.” Defendant’s Memorandum

 in Opposition, Adv. Pro. No. 09-03001, Adv. Doc. No. 29-8. Mr. Klingerman did not indicate at

 any time prior to the sale that he needed or intended to obtain mortgage financing in order to

 close on the property. Further, Mr. Klingerman did not indicate that his bid was contingent on his

 ability to obtain that financing.

        Despite the condition in the Bidding Procedures that qualified only those bidders who had

 financing ready before bidding and despite Mr. Klingerman’s confirmed ability to close, Mr.

 Klingerman delayed closing by attempting, unilaterally, to change the terms of the court-approved

 Bidding Procedures first by asserting the need to obtain mortgage financing and then to make the

 sale subject to an Internal Revenue Code § 1031 “like kind exchange” (26 U.S.C. § 1031).

 According to the express terms of the court-approved Bidding Procedures, any effort by Mr.

 Klingerman to obtain mortgage financing had to be successfully concluded prior to his bid

 submission. The Bidding Requirements provide that the bid must be “accompanied by

 satisfactory evidence of committed financing or other financial ability to perform the acquisition

 of the Lake Placid Property.” Bidding Procedures, Adv. Pro. No. 09-03001, Adv. Doc. No. 29-2,



        4
          (...continued)
 at four individual docket numbers in Adv. No. 09-03001: Adv. Doc. Nos. 29, 30, 31, and 32.
 The memorandum filed at each docket entry is identical; the exhibits attached to each docket
 entry are different. Exhibits 1-10 were filed at Adv. Doc. No. 29; Exhibits 11-20 were filed at
 Adv. Doc. No. 30; Exhibits 21-30 were filed at Adv. Doc. No. 31; and Exhibits 32-40 were filed
 at Adv. Doc. No. 32.

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 at 2, ¶ a of Bid Requirements. This section makes clear that all financing was to be established

 before Mr. Klingerman could be classified as a Qualified Bidder as defined in the Bidding

 Procedures. Bidding Procedures, Adv. Pro. No. 08-03009, Adv. Doc. No. 33, Exhibit 2, at 2.

 Similarly, had Mr. Klingerman desired to subject the sale to a § 1031 “like kind exchange,” the

 time to do so arose prior to his bid submission under the terms of the Bidding Procedures.

        What actually happened to change Mr. Klingerman’s desire to own this property is evident

 from the transcript of the auction sale. The auction sale was conducted by the Trustee with

 bidders participating by telephonic conference call. The next highest bid, submitted by the

 ultimate purchaser of the Lake Placid Property, was in the amount of $2,500,001, i.e., $1,049,999

 less than Mr. Klingerman’s bid (Defendant’s Memorandum in Opposition, Adv. Pro. No. 09-

 03001, Adv. Doc. No. 32-7, Transcript of 7/16/2008 Lake Placid Property Auction Sale, at

 20:5-7), and a fact that caused some consternation to Mr. Klingerman.5 Id. at 25:10-19.6 The

 other Qualified Bidders, Ms. Toni Miles and Mr. Robert Clark as co-bidders, opted to stand on

 their initial offer of $2,500,001. Ms. Miles explained during the bidding that, after much thought,

 she and Mr. Clark decided that they would not bid higher than $2,500,001 because they didn’t

 “believe that would be to [their] benefit paying overmarket with what is needed to be done, after

 doing [their] due diligence.”7 Id. at 20:22-25. Counsel for the Trustee noted that “[he and the

        5
          After Mr. Klingerman failed to close, the Trustee negotiated an additional $199,999 to
 the alternate bid, resulting in a bid of $2,700,000. Thus, the estate was damaged by $850,000.
        6
        We note that the transcript from the July 16, 2008, auction sale is also docketed at Adv.
 Doc. No. 29-10.
        7
         Throughout the auction sale, Ms. Miles referred to her bid as “2.5" and/or “2 and a half
 million.” However, the exact amount of the bid was $2,500,001, as clarified by Mr. Geron:
               MR. GERON: [S]o, Ms. Miles, let me make sure I get this right,
                                                                                      (continued...)

                                                  7
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 Trustee] don’t believe that [$3,550,000] is overmarket, as evidenced by the fact, first of all, that

 Mr. Klingerman has bid that number, and also evidenced by [the] fact that [they] have an

 appraisal that supports that numbers [sic].” Id. at 21:1-8. Mr. Klingerman then requested, and

 was granted, time to speak to his attorney. Id. at 22:17-21. After doing so, counsel for Mr.

 Klingerman related that his client “was very upset about the way this has unfolded,” that “his bid

 [spoke] for itself,” and that “he expect[ed] that after the sale [was] approved by the Court . . . on

 July 23rd, that [counsel for the Trustee] would forward a contract of sale” and proceed forward.

 Id. at 25:10-19. Regardless of Mr. Klingerman’s expression, there was ample time and

 opportunity between the beginning of the Trustee’s marketing the property and the sale for all

 bidders, including Mr. Klingerman, to do due diligence and establish an opinion of value on

 which to bid.8 Thus, the auction sale itself appears to have altered Mr. Klingerman’s view of the


        7
         (...continued)
                 and let me put this on the record. The bid by Ms. Miles and Mr.
                 Clark . . . is for $2,500,001.
                 MS. MILES: Yes, correct.
 Defendant’s Memorandum in Opposition, Adv. Pro. No. 09-03001, Adv. Doc. No. 32-7,
 Transcript of 7/16/2008 Lack Placid Property Sale, at 20:2-7.
        8
        In fact, such actions were required by the bidder under the express terms of the Bidding
 Requirements elucidated in the Bidding Procedures, which state that:
               The bid acknowledges and represents that the bidder: (i) has had
               an opportunity to conduct any and all due diligence regarding the
               Lake Placid Property prior to making its offer; (ii) has relied
               solely upon its own independent review, investigation and/or
               inspection of any documents and/or the Lake Placid Property in
               making its bid; (iii) did not rely upon any written or oral
               statements, representations, promises, warranties or guaranties
               whatsoever, whether express, implied, by operation of law or
               otherwise, regarding the Lake Placid Property, or the completeness
               of any information provided in connection therewith or the
               Auction, except as expressly stated in these Bidding Procedures;
                                                                                      (continued...)

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 worth of his bid. Id. at 23:9-15. That change, however, is not grounds for failing to comply with

 and close on his bid.

        During the post-sale course of the communications between Plaintiff’s counsel and Mr.

 Klingerman’s counsel, the Trustee sent a draft contract for Mr. Klingerman’s signature. The draft

 included ¶ 23, “Defaults and Remedies.” Defendant John D. Klingerman’s Opposition to

 Trustee’s Motion for Summary Judgment (hereinafter, the “Response”), Adv. Pro. No. 09-03001,

 Adv. Doc. No. 19-2, Residential Contract of Sale, at 7, ¶ 23. This provision was a liquidated

 damages clause, which, had he signed, may have benefitted Mr. Klingerman by limiting the Seller

 (the Trustee) to receiving and retaining the $200,000 down payment in the event that the Buyer

 (Mr. Klingerman) defaulted. However, Mr. Klingerman did not sign this contract.9 The Bidding

 Procedures state that if a successful bidder breaches, the “Trustee will not have any obligation to

 return the Good Faith Deposit” which “irrevocably will become property of the Debtor’s estate.”

 Bidding Procedures, Adv. No. 08-03009, Adv. Doc. No. 33, Exhibit 2, at 5. The express terms of

 the Bidding Procedures, therefore, did not establish a liquidated damages clause. With no court

 approval of a liquidated damages clause and no signed contract limiting the estate’s damages in

 that fashion, there is nothing that prohibits the Trustee from pursuing additional damages.10 The

        8
        (...continued)
                and (iv) is willing to enter into a contract of sale in substantially
                the same form as that provided by the Trustee.
 Bidding Procedures, Adv. Pro. No. 08-03009, Adv. Doc. No. 33, Exhibit 2, at 3, ¶ c of Bid
 Requirements (emphasis added).
        9
         A sample form of contract with no purchaser identified therein was attached as Exhibit
 A to the Sale Order. That form contained a liquidated damages clause, at Paragraph 23, in the
 event of default by the purchaser.
        10
             Mr. Klingerman had previously been given the opportunity to present additional
                                                                                       (continued...)

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 Bidding Procedures and Sale Order, together with Mr. Klingerman’s offer and the Trustee’s

 acceptance, are the only governing documents that exist between the Trustee and Mr.

 Klingerman.

 Analysis

        The parties agree that the law of New York governs this dispute. Motion, Adv. Pro. No.

 09-03001, Adv. Doc. No. 11, at ¶¶ 27-28, 31, and 33; Response, Adv. Pro. No. 09-03001, Adv.

 Doc. No. 19, at ¶¶ 27-28, 31 and 33. Under New York law, a plaintiff will establish a breach of

 contract by proving the existence of an agreement which was adequately performed by the

 plaintiff but breached by the defendant and damages resulting from the breach. Eternity Global

 Master Fund Ltd. v. Morgan Guar. Trust Co. of New York, 375 F.3d 168, 177 (2d Cir. 2004)

 (citing Harsco Corp. v. Segui, 91 F.3d 337, 348 (2d Cir. 1996)); First Investors Corp. v. Liberty

 Mut. Ins. Co., 152 F.3d 162, 168 (2d Cir. 1998).

        The court may enter summary judgment where there are no material facts in dispute and

 the moving party is entitled to judgment as a matter of law. Fed. R. Bankr. P. 7056(c); Celotex

 Corp. v. Catrett, 477 U.S. 317, 322 (1986); Robeson Indus. Corp. v. Hartford Accident & Indemn.



        10
          (...continued)
 evidence of a negotiated liquidated damages clause limiting the Trustee’s damages to the Good
 Faith Deposit. Mr. Klingerman did not produce any additional evidence. Under New York law,
 a liquidated damages clause is never read into a contract by implication and, in this case, there is
 no signed agreement containing a liquidated damages clause. See Winkelman v. Winkelman, 208
 A.D. 68, 70 (N.Y. App. Div. 1924). Where a signed contract includes a purported liquidated
 damages clause, “New York courts will construe [that] provision strictly and will sustain such a
 provision only where the specified amount is a reasonable measure of the anticipated harm.
 Thus the rule has evolved that where the damages flowing from breach of a contract are easily
 ascertainable, or the damages fixed are plainly disproportionate to the contemplated injury, the
 stipulated sum will be treated as a penalty and disallowed.” United States Fid. & Guar. Co. v.
 Braspetro Oil Servs. Co., 369 F.3d 34, 71 (2d Cir. 2004) (citations omitted).

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 Co., 178 F.3d 160, 164-65 (3d Cir. 1999).

 Count I:

        In this Count, the Trustee seeks judgment against Defendant Klingerman “for the full

 amount of the unpaid damages caused as a result of Mr. Klingerman’s breach of the bidding

 procedures . . . .” Amended Complaint, Adv. No. 09-03001, Adv. Doc. No. 3, at 10-11, ¶ 47.

 The parties have stipulated to most of the material facts. Those that were not subject to the

 stipulation of facts have not been disputed by Defendant Klingerman. What is in dispute is

 whether the Trustee is entitled to recover an amount not less than $650,00011 by which the estate

 has been diminished as a result of Mr. Klingerman’s failure to honor his signed agreement to

 abide by the terms of the Bidding Procedures and to close the sale. The court finds that, under

 New York law, the Trustee is so entitled because he has established all of the elements of his

 breach of contract claim.

        The Trustee proved that there was an agreement between him as Seller and Mr.

 Klingerman as Buyer for the sale of the Lake Placid property for a price of $3.55 million.12 The

 court approved that sale by Order docketed on July 30, 2008. Sale Order, Adv. Pro. No. 08-

 03009, Adv. Doc. No. 55. The Bidding Procedures, which were also approved by the court,

 expressly provided that the parties were to close on a signed contract within the two weeks




        11
             The $650,000 accounts for the $200,000 already recovered by the Trustee.
        12
           The Bidding Procedures provide that, in order to qualify as a Qualified Bidder, each
 Potential Bidder had to provide “[a] letter from a national bank evidencing the ability to timely
 close its proposed transaction (either in the form of a statement showing sufficient assets to
 close, or a pre-approved mortgage commitment) . . . .” Bidding Procedures, Adv. Pro. No. 08-
 03009, Adv. Doc. No. 33, Exhibit 2, at 2 (emphasis added). As stated, Mr. Klingerman met this
 condition and qualified as a bidder.

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 following issuance of the Sale Order. Sale Authority Order, Adv. Doc. No. 08-03009, Adv. Pro.

 No. 33, Exhibit 2, at 2.

        All of the essential elements of a contract were formed: a written offer and acceptance for

 purchase and sale of an identified real property for a specified price, to be closed within a set

 time. See Sabetfard v. Djavaheri Realty Corp., 18 A.D.3d 640, 641 (N.Y. App. Div. 2d Dep’t

 2005) (finding that an agreement for the sale of real property that “identified the parties,

 described the subject property, stated the time and terms of payment, established the closing date,

 and was subscribed by the parties to be charged” satisfied the Statute of Frauds).13 In this

 instance, where an auction was conducted for the sale of real property, Mr. Klingerman’s written

 submission of a bid constitutes the written offer which Trustee accepted through his written

 motion to approve the same and entry of the Sale Order.14

        There is no dispute that the Trustee accepted Mr. Klingerman’s offer and complied with


        13
           Defendant John D. Klingerman’s Opposition to Trustee’s Motion for Summary
 Judgment (Adv. Proc. No. 09-03001, Adv. Doc. No. 19) did not raise the affirmative defense of
 statute of frauds as required by Rule 7008 of the Federal Rules of Bankruptcy Procedure, which
 makes applicable Rule 8 of the Federal Rules of Civil Procedure. Under Fed. R. Civ. P. 8(c)(1),
 “[i]n responding to a pleading, a party must affirmatively state any avoidance or affirmative
 defense, including . . . statute of frauds. . . .” Fed. R. Civ. P. 8(c)(1). Even though Defendant
 Klingerman raised a statute of frauds argument in his Memorandum of Law in Support of
 Defendant’s Opposition to Plaintiff’s Motion for Summary Judgment (Adv. Pro. No. 09-03001,
 Adv. Doc. No. 29), this is insufficient to satisfy the requirements of Rule 8(c)(1). Regardless of
 whether the statute of frauds defense was raised appropriately, an enforceable order of this court,
 which approved and confirmed the sale of the Lake Placid Property, was entered after a
 negotiated agreement had been reached between the parties and that agreement required a
 closing within two weeks of entry of the order.
        14
          The Bidding Procedures provide that the “Trustee will be deemed to have accepted a
 Qualified Bid only when the Qualified Bid(s) have been approved by the Court at the Sale
 Hearing and an order reflecting such approval has been entered.” Bidding Procedures, Adv. Pro.
 No. 08-03009, Adv. Doc. No. 33, Exhibit 2, at 5. Such an Order (the Sale Order) was entered on
 July 30, 2008, at Adv. Doc. No. 55 of Adv. Pro. No. 08-03009.

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 the court’s Sale Order by preparing a contract and, after some delays,15 setting a closing date. The

 Trustee, therefore, stood ready, willing and able to close, and adequately performed his part of the

 agreement. Mr. Klingerman concedes that he did not sign a contract or close the deal at any time,

 much less within the time ordered by the court in its Sale Order. Thus, he breached his

 agreement. The court determined as much in its Good Faith Deposit Order which, in pertinent

 part, found that “Mr. Klingerman expressly agreed to the Bidding Procedures and to be bound by

 them” and that “Mr. Klingerman is in material breach of the Bidding Procedures.” Good Faith

 Deposit Order, Adv. Pro. No. 08-03009, Adv. Doc. No. 89, at 3, ¶¶ I and K. Furthermore, Mr.

 Klingerman’s bid was a binding bid, a fact that was reiterated to Mr. Klingerman and his counsel

 at the auction.16 Therefore, even though a residential sales contract was never signed, the Bidding

 Procedures, the bid and the Sale Order establish all the elements of a written agreement between

 the Trustee and Mr. Klingerman which was breached by Mr. Klingerman when he failed to sign

 the contract and close on the sale.17

        15
           Dawn Prosser removed certain items from the property, which Mr. Klingerman valued
 at about $100,000. Subsequently, the Trustee recovered the items, or their equivalent value, so
 as to be able to close.
        16
            Trustee’s counsel stated on the record: “Let me make a comment here, that the bid is a
 binding bid. Just as a matter of formality, and going forward with the bid as it currently stands,
 but it is binding, as is the deposit. I just want to make sure that we’re clear on that. . . .”
 Defendant’s Memorandum in Opposition, Adv. Pro. No. 09-03001, Adv. Doc. No. 32-7,
 Transcript of 7/16/2008 Lake Placid Property Auction Sale, at 23:9-15.
        17
          See In re Chateaugay Corp., 186 B.R. 561, 593-94 (Bankr. S.D.N.Y. 1995) (“[T]he
 successful bidder at a bankruptcy sale is bound by the offer as stated and embodied in an
 approval order”). Further, while not binding on this court as precedential, the court finds In re
 Moore, 2008 Bankr. LEXIS 1120 (Bankr. D.S.C. 2008), to be relevant. In that case, where a
 final contract of sale was not signed by both the seller/debtor and the buyer, the court held that
 “a bankruptcy court can bind a purchaser and seller with its sale order. ‘Once an Order
 confirming a sale is entered, it is binding on the parties. Their rights and obligations are fixed
                                                                                          (continued...)

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        Further, it is clear that the Debtor’s estate was damaged and incurred a loss as a result of

 Mr. Klingerman’s breach. In the Good Faith Deposit Order which authorized the Trustee to

 retain the Good Faith Deposit, the court found that the “Debtor’s estate has been damaged by Mr.

 Klingerman’s breach of the Bidding Procedures.” Adv. No. 08-03009, Adv. Doc. No. 89, at 3, ¶

 L. That same order indicated that it did not “prohibit or limit the Trustee’s or any other party’s

 rights to seek additional damages against Mr. Klingerman in connection with his failure to close

 on the sale of the Lake Placid Property.” Id. at 4-5, ¶ 5. There is no dispute that the Trustee

 eventually sold the property to a third party for $2,700,000. Simple subtraction shows that the

 estate lost $850,000 in sales price alone.18 Thus, the Trustee has met all the elements necessary to

 establish his breach of contract claim.

        Mr. Klingerman’s defense is in the nature of mistake – not in failing to close but in failing

 to object to the Trustee’s motion to retain the $200,000 down payment. He claims that he would

 not have agreed to forfeit the $200,000 deposit had he known that the estate would seek the


        17
          (...continued)
 thereby, and they are not permitted to deviate therefrom. The purchaser is bound by the Order.’”
 2008 Bankr. LEXIS 1120, *19 (quoting In re Pizazz Disco & Supperclub, Inc., 114 B.R. 104,
 108 (Bankr. W.D. Pa. 1990), aff’d 1991 U.S. Dist. LEXIS 19998, 1991 WL 331033 (W.D. Pa.
 1991)). The rationale behind that holding was that “[p]ublic policy requires stability in
 bankruptcy sales. To induce bidding at such sales and reliance upon them, the purpose of the
 law is that they shall be final.” In re Moore, 2008 Bankr. LEXIS 1120, *20 (quoting In re
 Winston Inn & Rest Corp., 120 B.R. 631, 635 (E.D.N.Y. 1990) (citations omitted)). See also, In
 re Homestead Indus., Inc., 138 B.R. 788, 790 (Bankr. W.D. Pa. 1992) (“If parties are to be
 encouraged to bid at judicial sales there must be stability in such sales and a time must come
 when a fair bid is accepted and the proceedings are ended” (citing In re Webcor, 392 F.2d 893,
 898 (7th Cir. 1968)).
        18
         Although the parties agree that the difference in the purchase price is $850,000, that
 amount does not account for the additional “carrying costs” incurred by this estate while the sale
 remained open. The Prossers were paying nothing and the estate bore the costs of insurance,
 maintenance, etc., until the closing.

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 additional $650,000 against him. He argues that he was lulled into this position because of the

 Default Remedies paragraph in the draft contract that he did not sign and by the Trustee’s

 proposed order to this court seeking the $200,000 forfeiture, which proposed order did not reserve

 or mention the right to bring an action for the additional $650,000. As stated above, Mr.

 Klingerman never executed the draft contract so whatever it says is of no moment here. Further,

 regardless of what language is put into an order proposed by a party, the court is the deciding

 body as to the wording of an order. Mr. Klingerman’s choice not to participate in the hearing

 regarding the forfeiture of the $200,000 was his own decision. The reality is that there is no place

 in the record of these proceedings where the court approved a liquidated damages clause, and

 there is no contract between the parties that sets a limitation on the Trustee’s recovery on behalf

 of this estate.

         New York law supports our conclusion. In Ryan v. Corbett, 52 A.D.3d 1270, 1271 (N.Y.

 App. Div. 4th Dep’t 2008), the court stated that “the proper measure of damages is the difference

 between the contract price and the amount received upon the subsequent sale ‘unless there is

 evidence that the fair market value at the time of the breach is otherwise’” (quoting Matzkowitz v.

 Prince, 195 A.D.2d 842) (N.Y. App. Div. 3d Dep’t 1993) (emphasis in original).

         The record in this case establishes that the Lake Placid property was listed and marketed

 by a real estate broker who received several bids, following which an auction was conducted.

 Thus, the market value has been set by the market test. Cf., Adirondack Trust Co. v. ROS Assocs.,

 144 A.D.2d 827, 828 (N.Y. App. Div. 3d Dep’t 1988) (“The price paid at a public auction can

 reflect a foreclosed property’s fair market value (see, First [Nat’l] Bank v. Intermont, Inc., 53

 A.D.2d 760)”). Mr. Klingerman has submitted nothing to suggest a dispute as to the fair market


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 value of the property at the time of his breach. With no agreement to limit damages and no

 evidence disputing the fair market value as the highest price bid at the auction, under New York

 law, the Trustee is entitled to the full measure of damages he seeks.19

        Because Mr. Klingerman has paid over to the estate the $200,000 deposit, judgment will

 be entered in favor of the Trustee and against Mr. Klingerman in an amount to be determined

 after a status conference.20

 Count II

        In Count II of the Amended Complaint, the Trustee seeks to bar Mr. Klingerman from

 defending this action based on res judicata and collateral estoppel. Specifically, the Trustee

 argues that, in the prior proceedings before us to determine liability, the court has already found

 that Defendant Klingerman has breached the Bidding Procedures and, as a result, has damaged

 the bankruptcy estate. Motion, Adv. Pro. No. 09-03001, Adv. Doc. No. 11, at 11, ¶ 43. Further,

 the Trustee asserts that “Mr. Klingerman is collaterally estopped and precluded from disputing

 that: (1) Mr. Klingerman [is] in material breach of the Bidding Procedures by failing to timely

 enter into a contract or close on the sale of the Lake Placid Property; and (2) that the Debtor’s

 estate has incurred damages as a result thereof.” Amended Complaint, Adv. Pro. No. 09-03001,

 Adv. Doc. No. 3, at 11, ¶ 52.



        19
             See also supra note 10 and accompanying text.
        20
          Mr. Klingerman may be entitled to certain credits against this judgment, due to a
 settlement with Dawn Prosser in an action commenced by Dawn Prosser in another court and
 due to the Stipulation between the Trustee and Dawn Prosser in this action. Stipulation, Adv.
 Pro. No. 09-03001, Adv. Doc. No. 28. A status conference will be held to determine this issue
 and an appropriate judgment will then be entered to reflect any credits to which Mr. Klingerman
 may be entitled.

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        Mr. Klingerman, on the other hand, disputes the Trustee’s request for partial summary

 judgment, submitting that “[o]nly after the Trustee brought this Adversary Proceeding did Mr.

 Klingerman learn that the Court could subject him to more than forfeiture of the earnest money

 deposit by reason of the additional provision asserted by the Court [in the Good Faith Deposit

 Order] but never mentioned in the motion and draft order proffered by the Trustee’s attorneys”

 and that neither he nor his counsel ever “contemplate[d] a claim for damages in excess of the

 earnest money deposit.” Defendant’s Memorandum in Opposition, Adv. Pro. No. 09-03001, Adv.

 Doc. No. 29, at 12. Essentially, Mr. Klingerman is arguing that, because the damages in dispute

 in the current action, i.e., the $650,000 representing the difference in Mr. Klingerman’s purchase

 price and the actual price for which the property was sold, are different from the $200,000 Good

 Faith Deposit at issue in the proceedings regarding the Good Faith Deposit Order, he is not

 collaterally estopped or precluded from litigating that issue in this adversary proceeding.

        The court agrees that the Trustee’s request for relief in this adversary proceeding is

 different from the turnover of the $200,000 deposit that was at issue in the proceedings related to

 the Good Faith Deposit Order.21 The fact that the damages are different, however, does not



        21
          To resolve the issue of Defendant Klingerman’s failure to close the sale transaction, the
 Trustee initially sought the forfeiture of Klingerman’s earnest money deposit which was
 specifically authorized in the Good Faith Deposit Order. Even though Klingerman initially
 objected to that resolution, counsel for Defendant Klingerman eventually acknowledged his
 acceptance of that remedy. Now, in this adversary proceeding, the Trustee seeks additional
 damages, i.e., the deficiency between the bid price at the auction sale and the final price at which
 the property was later sold. Klingerman is essentially arguing that, because the damages now
 sought by the Trustee in this adversary are different than those awarded by the court in its order
 authorizing Defendant Klingerman’s good faith deposit to be turned over to the Debtor’s estate
 (Adv. No. 08-03009, Adv. Doc. No. 89), the doctrines of collateral estoppel and/or res judicata
 do not apply. Defendant’s Memorandum in Opposition, Adv. Pro. No. 09-03001, Adv. Doc. No.
 29, at 11-12.

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 preclude the operation of the doctrines of collateral estoppel and res judicata. Mr. Klingerman

 has stipulated to two of the four facts the Trustee seeks to treat as collaterally estopped.22 He did

 not stipulate that (1) he materially breached the Bidding Procedures by failing to sign a contract

 or close the sale or (2) the estate was damaged by his breach. Nonetheless, although the court did

 make the findings as recited by the Trustee,23 the court has reexamined the record as submitted by

 the parties. This record supports the court’s earlier findings that Mr. Klingerman materially

 breached the agreement and that his breach caused damage to the estate. Mr. Klingerman had the

 opportunity to fully litigate, and did fully litigate, the issue of liability regarding breach of the

 Bidding Procedures. Therefore, because the court has examined the evidence, the Trustee’s

 Motion for Partial Summary Judgment is determined to be moot with respect to Count II of the

 Amended Complaint and this Count will be dismissed.24



         22
           These two facts are that Mr. Klingerman agreed to be bound by the Bidding Procedures
 and that the Trustee complied with the terms of the Bidding Procedures deposit order.
         23
           Defendant Klingerman filed a Motion for Reconsideration, asking this court to
 reconsider its October 31, 2008, Good Faith Deposit Order. Motion for Reconsideration, Adv.
 Pro. No. 09-03001, Adv. Doc. No. 41. The court considered that motion because Mr.
 Klingerman failed to attend the hearing before this court regarding the Trustee’s request for
 forfeiture of the Good Faith Deposit. After a thorough review of the record, including the
 consideration of Mr. Klingerman’s late filings regarding the Motion for Reconsideration, the
 court denied that motion. Order Denying Motion to Reconsider, Adv. Pro. No. 09-03001, Adv.
 Doc. No. 53. Defendant Klingerman’s Motion for Reconsideration was argued before the court
 at the February 26, 2010 omnibus hearing. The court’s March 3, 2010 order denying Defendant
 Klingerman’s Motion for Reconsideration of the Good Faith Deposit Order is currently on
 appeal to the District Court of the Virgin Islands, Division of St. Thomas and St. John.
         24
           Because of Mr. Klingerman’s appeal pending before the District Court of the Virgin
 Islands (see supra note 23 and accompanying text), the court has taken the opportunity in this
 adversary proceeding to reexamine the record this in this case. The fact remains that nothing in
 the record precludes the application of collateral estoppel or supports denying summary
 judgment with respect to the substantive merit of the two facts to which Mr. Klingerman did not
 stipulate.

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 Count VII

        In Count VII of the Amended Complaint, the Trustee asks the court “to determine the

 respective rights and duties of the party or parties entitled to receive the Damages Reserve or

 portions thereof” pursuant to Fed. R. Civ. P. 2225 and 28 U.S.C. § 1335.26 Adv. Pro. No. 09-

 03001, Adv. Doc. No. 3, at 14, ¶ 77. The Stipulation entered into between the Trustee and Dawn

 Prosser has resolved Count VII as between the Trustee and Dawn Prosser.27 Adv. Pro. No. 09-

 03001, Adv. Doc. No. 28. Thus, although Count VII is not included in the Trustee’s Motion, the

 Stipulation appears to have rendered Count VII moot with respect to Defendant Dawn Prosser.

 However, Mr. Klingerman, who was not a party to the Stipulation, has asserted an interest in the




        25
          Rule 7022 of the Federal Rules of Bankruptcy Procedure makes Fed. R. Civ. P. 22(a)
 applicable in adversary proceedings. Fed. R. Bankr. P. 7022.
        26
          The Amended Complaint defines the “Damages Reserve” as “the proceeds attributable
 to Ms. Prosser’s one-half interest on account of the removal of the Fixtures and the Damages
 Credit,” pursuant to an order issued by the court on November 21, 2008 (Distribution Order,
 Adv. Pro. No. 08-03009, Adv. Doc. No. 110). Amended Complaint, Adv. Pro. No. 09-03001,
 Adv. Doc. No. 3, at 10, ¶ 42. The Amended Complaint states that the amount of the Damages
 Reserve is $109,310.60. Id.; Id. at 2, ¶ 4.
        27
           The Stipulation provides that the “Trustee shall . . . retain the Damages Credit, which
 shall be deemed property of the Debtor’s estate.” Adv. Pro. No. 09-03001, Adv. Doc. No. 28, at
 5, ¶ 5. The “Damages Credit” is defined as the $9,310.60 credit given to Robert D. Clark and
 Toni R. Miles, the buyers of the Lake Placid Property, “on account of the estimated costs to
 repair damage caused by Dawn Prosser.” Amended Complaint, Adv. Pro. No. 09-03001, Adv.
 Doc. No. 3, at 10-11, ¶ 41. Furthermore, the Stipulation provides that “[t]he Trustee and Ms.
 Prosser are desirous of resolving those issues regarding the [Lake Placid] Property, the [Lake
 Placid] Property Reserve and the Damages Reserve, without any admission of liability, and with
 a full reservation of rights with respect to any other aspect of this adversary proceeding” (Adv.
 Pro. No. 09-03001, Adv. Doc. No. 28, at 4, ¶ N) and that the “Stipulation represents the only
 agreement between the parties as to the [Lake Placid] Property, the [Lake Placid] Property
 Reserve and the Damages Reserve.” Adv. Pro. No. 09-03001, Adv. Doc. No. 28, at 6, ¶ 8.

                                                 19
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 Damages Reserve established by the Stipulation. Thus, the court will conduct a status conference

 regarding this Count.

 Conclusion

        An appropriate order will be entered.




       Dated:
 DATE: 10/29/2010
       12:13:10                                 Judith K. Fitzgerald
                                                U.S. Bankruptcy Judge




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                   IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. THOMAS AND ST. JOHN
                               BANKRUPTCY DIVISION


 IN RE:
 JEFFREY J. PROSSER                                   Case No.: 06-30009 (JKF)
                                                      Chapter 7
                Debtor.



 JAMES P. CARROLL, as Chapter 7                       Adv. Proc. No. 09-03001 (JKF)
 Trustee of the Estate of Jeffrey J. Prosser,
                                                      Related to Adv. Doc. No. 11
                Plaintiff,

 v.

 JOHN D. KLINGERMAN and DAWN
 PROSSER,

                Defendants.


           INTERIM ORDER GRANTING PLAINTIFF’S MOTION FOR
 PARTIAL SUMMARY JUDGMENT ON COUNT I AGAINST JOHN D. KLINGERMAN;
  GRANTING OTHER RELIEF; and SETTING STATUS CONFERENCE AS TO ALL
                          OTHER COUNTS

        Upon the “Amended Complaint of Chapter 7 Trustee Seeking Damages in Connection

 with the Estate’s Real Property Located at 89 Herbert Road, Lake Placid, New York and to

 Interplead Certain Funds Held in Reserve” (hereinafter, the “Amended Complaint”) dated January

 23, 2009, of James P. Carroll, Chapter 7 Trustee for the bankruptcy estate of Jeffrey J. Prosser,

 seeking judgment from this court: (a) against Defendant John D. Klingerman in an amount not

 less than $650,000, for all outstanding damages as a result of his breach of the Bidding

 Procedures; (b) against Defendant Dawn Prosser for the full value of the Damages Credit and


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 Fixtures, or alternatively directing Ms. Prosser to turn over the Fixtures; (c) against Dawn Prosser

 to the extent the Court finds that Mr. Klingerman is not liable under Count I of the Amended

 Complaint, in whole or in part, due to Ms. Prosser’s removal of the Fixtures; (d) entering an

 Order permitting the Trustee to interplead the Damage Reserve into Court; (e) awarding the

 Trustee costs and upon the Trustee’s Partial Motion for Summary Judgment Against All

 Defendants (hereinafter, the “Motion”) filed by the Trustee, seeking the entry of an order granting

 summary judgment against Defendant John D. Klingerman as to Counts I and II and against

 Dawn Prosser as to Count IV of the Amended Complaint, and proper and adequate notice of the

 Motion and any hearing thereon having been given; and no other or further notice being

 necessary; and after due deliberation thereon;

        AND NOW, this 29th day of October, 2010, for the reasons expressed in the foregoing

 Memorandum Opinion, it is hereby ORDERED, ADJUDGED and DECREED:

        The Motion for Partial Summary Judgment is GRANTED as to Defendant John D.

 Klingerman as to liability only on Count I of the Amended Complaint; and

        It is FURTHER ORDERED that entry of a Judgment regarding damages is deferred on

 Count I of the Amended Complaint pending the status conference scheduled herein; and

        It is FURTHER ORDERED that Count II is DISMISSED as moot; and

        It is FURTHER ORDERED as to Count VII of the Amended Complaint brought against

 Defendant John D. Klingerman, a status conference will be held regarding Defendant

 Klingerman’s assertion of an interest in the Damages Reserve; and

        It is FURTHER ORDERED as to Counts III, IV, V, VI and VII of the Amended

 Complaint, brought against Dawn Prosser, the court previously approved a Stipulation between


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 Plaintiff Trustee and Defendant Dawn Prosser which may have resolved some or all of these

 Counts. Thus, so as to ascertain what, if any, further proceedings are pending on these Counts, as

 well as to determine the effect, if any, the stipulation has on the damages owed by Defendant

 Klingerman, a status conference will be held at the omnibus hearing on January 25, 2011 at 9:00

 a.m. (prevailing Eastern time). Counsel to Trustee, Dawn Prosser, and John D. Klingerman

 shall appear and may do so telephonically by making the appropriate arrangements with

 CourtCall not later than NOON prevailing Eastern time two business days prior to the hearing;

 and

         It is FURTHER ORDERED that counsel for the Plaintiff shall immediately serve a copy

 of this Memorandum Opinion and Order on all parties in interest who do not receive electronic

 notice and shall file a certificate of service forthwith.


         Dated:
         10/29/2010
         12:13:52                                Judith K. Fitzgerald
                                                 United States Bankruptcy Judge




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